MANDATE
                CaseCase
                     1:18-cv-02921-JMF
                         19-212, Document
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                                          89, 08/07/2019,
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                                                                                 N.Y.S.D. Case #
                           UNITED STATES COURT OF APPEALS                        18-cv-2921(JMF)
                                              FOR THE
                                           SECOND CIRCUIT

             At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
     Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
     7th day of August, two thousand and nineteen.

     Before:     Denny Chin,
                       Circuit Judge.
     ________________________________

      State of New York, et al.,
                                                                                                Aug 07 2019
                                                         ORDER
                     Plaintiffs - Appellees,
                                                         Docket No. 19-212
      v.

      United States Department of Commerce,
      United States Census Bureau, an agency within
      the United States Department of Commerce,
      Wilbur L. Ross, in his official capacity as
      Secretary of Commerce, Steven Dillingham, in
      his official capacity as Director of the Census,

                     Defendants - Appellants,

      Ron S. Jarmin, in his capacity as the Director
      of the U.S. Census Bureau,

                Defendant.
      ________________________________

               Appellants move for voluntary dismissal of the appeal.

               IT IS HEREBY ORDERED that the motion is GRANTED.


                                                           For the Court:

                                                           Catherine O’Hagan Wolfe,
                                                           Clerk of Court




MANDATE ISSUED ON 08/07/2019
